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  In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 18-1833V
                                        (not to be published)
                                                 CORRECTED

 LISA HEJNA,
                                                                Chief Special Master Corcoran
                         Petitioner,
 v.                                                             Filed: July 19, 2022


 SECRETARY OF HEALTH AND                                        Special Processing Unit                 (SPU);
 HUMAN SERVICES,                                                Attorney’s Fees and Costs


                         Respondent.


Michael G. McLaren, Black McLaren Jones Ryland & Griffee, P.C., Memphis, TN, for
Petitioner.

Lara Ann Englund, U.S. Department of Justice, Washington, DC, for Respondent.

                       DECISION ON ATTORNEY’S FEES AND COSTS 1

      On November 29, 2018, Lisa Hejna filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that as a result of an influenza vaccine received on
October 5, 2017, she suffered a shoulder injury related to vaccine administration as
defined on the Vaccine Injury Table. (ECF No. 1). On March 23, 2022, a decision was
issued dismissing Petitioner’s claim for insufficient proof. (ECF No. 38).


1 Because this unpublished Decision contains a reasoned explanation for the action in this case, I am

required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       Petitioner has now filed a motion for attorney’s fees and costs, dated June 3, 2022
(ECF No. 38), requesting a total award of $34,832.58 (representing $32,857.20 in fees
and $1,975.38 in costs). In accordance with General Order No. 9, counsel for Petitioner
represents that Petitioner incurred no out-of-pocket expenses. (Id. at 3). Respondent
reacted to the motion on June 15, 2022, indicating that he is satisfied that the statutory
requirements for an award of attorney’s fees and costs are met in this case, but deferring
resolution of the amount to be awarded at the Court’s discretion. (ECF No. 44). On June
16, 2022, Petitioner filed a reply stating that “Petitioner does not intend to file a substantive
reply to Respondent’s response”. (ECF No. 45).

      I have reviewed the billing records submitted with Petitioner’s request. In my
experience, the request appears reasonable, and I find no cause to reduce the requested
hours or rates.

                                          ANALYSIS

        The Vaccine Act permits an award of reasonable attorney’s fees and costs. Section
15(e). Counsel must submit fee requests that include contemporaneous and specific
billing records indicating the service performed, the number of hours expended on the
service, and the name of the person performing the service. See Savin v. Sec’y of Health
& Human Servs., 85 Fed. Cl. 313, 316-18 (2008). Counsel should not include in their fee
requests hours that are “excessive, redundant, or otherwise unnecessary.” Saxton v.
Sec’y of Health & Human Servs., 3 F.3d 1517, 1521 (Fed. Cir. 1993) (quoting Hensley v.
Eckerhart, 461 U.S. 424, 434 (1983)). It is “well within the special master’s discretion to
reduce the hours to a number that, in [her] experience and judgment, [is] reasonable for
the work done.” Id. at 1522. Furthermore, the special master may reduce a fee request
sua sponte, apart from objections raised by respondent and without providing a petitioner
notice and opportunity to respond. See Sabella v. Sec’y of Health & Human Servs., 86
Fed. Cl. 201, 209 (2009). A special master need not engage in a line-by-line analysis of
petitioner’s fee application when reducing fees. Broekelschen v. Sec’y of Health & Human
Servs., 102 Fed. Cl. 719, 729 (2011).

       The petitioner “bears the burden of establishing the hours expended, the rates
charged, and the expenses incurred.” Wasson v. Sec’y of Health & Human Servs., 24 Cl.
Ct. 482, 484 (1991). The Petitioner “should present adequate proof [of the attorney’s fees
and costs sought] at the time of the submission.” Wasson, 24 Cl. Ct. at 484 n.1.
Petitioner’s counsel “should make a good faith effort to exclude from a fee request hours
that are excessive, redundant, or otherwise unnecessary, just as a lawyer in private

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practice ethically is obligated to exclude such hours from his fee submission.” Hensley,
461 U.S. at 434.

                                    ATTORNEY FEES

       Petitioner requests compensation for attorney William Cochran and fellow
attorneys at the following rates:

                           2017       2018        2019      2020       2021        2022
                           $440       $456        $464       X          X           X
   Michael McLaren
                             X         X          $391       X          X           X
   William Cochran
                           $315       $326        $338      $351       $364        $395
   Christopher Webb

(ECF No. 43 at 8-9).

       The requested rates for time billed between 2017-21 are reasonable and
consistent with what has previously been awarded for work these attorneys have
performed for other petitioners. In addition, the requested increase for Mr. Webb is 2022
are appropriate and will be awarded.

       Petitioner also requests the rate of $355 per hour for time billed by law clerks in
2022. (Id. at 8). Although the detailed billing records show that no time was billed at this
rate by any law clerks, it is considered excessive for a non-barred student. In future, if
time should be billed at this rate for law clerks, it shall be reduced to the appropriate rate
of a paralegal.

                                   ATTORNEY COSTS

         Petitioner requests $1,975.38 in overall costs. (ECF No. 43 at 1). This amount is
comprised of obtaining medical records, travel expenses and the Court’s filing fee. I have
reviewed all of the requested costs and find them to be reasonable and shall award them
in full.

                                      CONCLUSION

       The Vaccine Act permits an award of reasonable attorney’s fees and costs. Section
15(e). Accordingly, I hereby GRANT Petitioner’s Motion for attorney’s fees and costs. I
award a total of $34,832.58 (representing $32,857.20 in fees and $1,975.38 in costs) as
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a lump sum in the form of a check jointly payable to Petitioner and Petitioner’s counsel.
In the absence of a timely-filed motion for review (see Appendix B to the Rules of the
Court), the Clerk shall enter judgment in accordance with this decision. 3

IT IS SO ORDERED.

                                                      s/Brian H. Corcoran
                                                      Brian H. Corcoran
                                                      Chief Special Master




3 Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint notice
renouncing their right to seek review.
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